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                     IN THE UNITED STATES DISTRICT COURT FOR THE

                                      DISTRICT OF UTAH


  BLUERIBBON COALITION, INC. et al.,
                                                      ORDER GRANTING MOTION TO
       Plaintiffs,
                                                                  INTERVENE
  v.

  BUREAU OF LAND MANAGEMENT, et                         Case No. 2:23-CV-923-DAK-JCB
  al.,

       Defendants,
                                                             Judge Dale A. Kimball
  and
                                                       Magistrate Judge Jared C. Bennett
  SOUTHERN UTAH WILDERNESS
  ALLIANCE,

       Proposed Defendant-Intervenor.



          This matter comes before the Court upon the Motion to Intervene filed by proposed

 Defendant-Intervenor Southern Utah Wilderness Alliance. Having reviewed the Motion and

 opposition thereto, and determined that intervention is warranted, SUWA’s Motion is

 GRANTED.

          Signed this 29th day of January 2024.



                                                     BY THE COURT:



                                                     Dale A. Kimball
                                                     United States District Judge
